108 F.3d 1372
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Milford Junior MASON, Plaintiff--Appellant,v.Carl F. CREEDEN, Defendant--Appellee.
    No. 96-7814.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 13, 1997.Decided March 20, 1997.
    
      Milford Junior Mason, Appellant Pro Se.
      Before HALL, ERVIN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Milford Mason, a Maryland inmate, appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint under 28 U.S.C.A. § 1915(e) (West Supp.  Sept. 1996, Pamphlet 3).  We have reviewed the record and the district court's opinion and find that this appeal is frivolous.  Accordingly, we dismiss the appeal on the reasoning of the district court.  Mason v. Creeden, No. CA-96-3176-L (D.Md. Oct. 23, 1996).  Mason's motion for appointment of counsel is denied.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    